
PER CURIAM.
*1291Affirmed. See McDonald v. State, 133 So.3d 530 (Fla. 2d DCA 2013) ; Bell v. State, 27 So.3d 209 (Fla. 2d DCA 2010) ; Doby v. State, 25 So.3d 598 (Fla. 2d DCA 2009) ; Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009) ; Valdez-Garcia v. State, 965 So.2d 318 (Fla. 2d DCA 2007) ; Steward v. State, 931 So.2d 133 (Fla. 2d DCA 2006) ; Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004) ; Brown v. State, 827 So.2d 1054 (Fla. 2d DCA 2002) ; Sims v. State, 141 So.3d 613 (Fla. 4th DCA 2014) ; Harris v. State, 789 So.2d 1114 (Fla. 1st DCA 2001).
SILBERMAN, MORRIS, and SALARIO, JJ., Concur.
